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Counsel for Defendants


                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING


TIMOTHY MELLON, a Wyoming resident,                   )
                                                      )
                               Plaintiff,             )
                                                      )
v.                                                    )    Case No. 13 CV 118-S
                                                      )
THE INTERNATIONAL GROUP FOR                           )
HISTORIC AIRCRAFT RECOVERY, a                         )
Delaware non-profit corporation and                   )
RICHARD E. GILLESPIE,                                 )
                                                      )
                               Defendants.            )

        ORDER ON DEFENDANTS’ MOTION IN LIMINE AS TO TESTIMONY
     CONCERNING CONCLUSIVE FACT OF DISCOVERY OF EARHART’S PLANE

        This matter having come before the Court on Defendants’ Motion in Limine asking this

Court to issue its Order precluding the introduction of evidence, argument, questioning, mention




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or claim that Ms. Earhart’s aircraft has been located off the Island of Nikumaroro, and the Court,

being fully advised in the premises:

        IT IS HEREBY ORDERED, ADJUDGED and DECREED that Defendants’ Motion in

Limine be, and the same hereby is granted, and accordingly there shall be no introduction of

evidence, argument, questioning, mention or claim that Ms. Earhart’s aircraft has been located

off the Island of Nikumaroro.

        DATED this ____ day of ___________, 2014.



                                                            ______________________________
                                                            United States District Judge




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